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   United States of America
14
                            UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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    UNITED STATES OF AMERICA,           Case No. 18-CR-4683-GPC
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                 Plaintiff,             GOVERNMENT’S PROPOSED
18                                      JURY INSTRUCTIONS
           v.
19
     JACOB BYCHAK (1),
20 MARK MANOOGIAN (2),
21 ABDUL MOHAMMED QAYYUM
    (3), and
22 PETR PACAS (4),
23
24               Defendants.

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           COMES NOW the plaintiff, UNITED STATES OF AMERICA, by and through its
26
     counsel, Randy S. Grossman, Acting United States Attorney, Melanie K. Pierson and
27
     Sabrina L. Fève, Assistant U.S. Attorneys, and Candina Heath, Senior Counsel, Computer
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     Crime and Intellectual Property Section, and hereby files the Government’s Proposed Jury
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 1 Instructions relating to this case. The Government reserves the right to supplement or
 2 amend this request as suggested by the evidence elicited during the trial.
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             DATED: May 12, 2022                       Respectfully submitted,
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                                                       RANDY S. GROSSMAN
 5                                                     United States Attorney
 6
 7                                                     /s/Melanie K. Pierson
 8                                                     Assistant U. S. Attorney

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     Government’s Proposed Jury Instructions
                                                2                                 18-cr-4683-GPC
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 1           The United States requests that the court give the following 2022 Ninth Circuit
 2 Pattern Jury Instructions:
 3              1.1          Duty of Jury
 4              1.2          The Charge – Presumption of Innocence
 5              1.3          What is Evidence
 6              1.4          What is Not Evidence
 7              1.5          Direct and Circumstantial Evidence
 8              1.6          Ruling on Objections
 9              1.7          Credibility of Witnesses

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                1.8          Conduct of the Jury
                1.9          No Transcript Available to Jury
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                1.10         Taking Notes
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                1.11         Outline of Trial
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                1.13         Separate Consideration for Each Defendant
14              1.16         Bench Conferences and Recesses
15              2.1          Cautionary Instruction
16              2.5          Depositions as Substantive Evidence
17              2.10         Other Crimes, Wrongs or Acts of the Defendant
18              2.12         Evidence for a Limited Purpose
19              3.1          Statements of the Defendant
20              3.3          Other Crimes, Wrongs or Acts of Defendant
21              3.9          Testimony of Witnesses Involving Special Circumstances: Immunity,
                             Benefits, Accomplice, Plea
22              3.14         Opinion Evidence, Expert Witness
23              3.15         Dual Role Testimony
24              3.16         Charts and Summaries Not Admitted as Evidence
25              3.17         Charts and Summaries Admitted as Evidence
26              4.1          Aiding and Abetting
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                4.8          Knowingly – Defined
                4.13         Intent to Defraud
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     Government’s Proposed Jury Instructions
                                                        3                           18-cr-4683-GPC
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                6.1          Duties of Jury to Find Facts and Follow Law
                6.2          Charge Against Defendant Not Evidence – Presumption of
 2
                             Innocence-Burden of Proof
 3              6.3          Defendant’s Decision Not to Testify
 4              6.4          Defendant’s Decision to Testify
 5              6.5          Reasonable Doubt – Defined
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                6.6          What is Evidence
                6.7          What is Not Evidence
 7
                6.8          Direct and Circumstantial Evidence
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                6.9          Credibility of Witnesses
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                6.10         Activities not Charged
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                6.13         Separate Consideration of Multiple Counts – Multiple Defendants
11              6.15         Possession - Defined
12              6.18         On or About Defined
13              6.19         Duty to Deliberate
14              6.20         Consideration of Evidence
15              6.21         Use of Notes
16              6.22         Jury Considerations of Punishment
17              6.23         Verdict Form

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                6.24         Communications with the Court
                11.1         Conspiracy – Elements
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                11.4         Conspiracy – Knowledge of and Association with Other
20                           Conspirators
21              11.6         Conspiracy – Liability for Substantive Offense Committed by Co-
                             Conspirator (Pinkerton Charge)
22              15.33        Scheme to Defraud – Vicarious Liability
23              15.35        Wire Fraud
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     Government’s Proposed Jury Instructions
                                                        4                             18-cr-4683-GPC
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 2           In addition to the Pattern Instructions, the government requests that the court give
 3 the following instructions:
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 5                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 1
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 7 The defendant is charged in Counts 6 through 10 with electronic mail fraud, in violation
 8 of Section 1037(a)(5) of Title 18 of the United States Code. For the defendant to be
 9 found guilty of that charge, the government must prove each of the following elements
10 beyond a reasonable doubt:
11       1. The defendant knowingly falsely represented himself to be the registrant or the
12           legitimate successor in interest to the registrant of five or more Internet Protocol
13           addresses;
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15       2. The defendant intentionally initiated the transmission of multiple commercial

16           electronic mail messages from those Internet Protocol addresses;

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         3. The volume of the electronic mail messages transmitted in furtherance of the
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             offense exceeded 2,500 during any 24-hour period, 25,000 during any 30-day
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             period or 250,000 during any 1-year period; and
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21       4. The electronic mail messages were transmitted in or affecting interstate commerce.
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28 18 U.S.C. §1037(a)(5), (b)(2)(D).
     Government’s Proposed Jury Instructions
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 2                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 2
 3
 4 The term “multiple,” when used with respect to commercial electronic mail messages, is
 5 defined as more than 100 electronic mail messages during a 24-hour period, more than
 6 1,000 electronic mail messages during a 30-day period, or more than 10,000 electronic mail
 7 messages during a 1-year period.
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28 18 U.S.C. §1037(d)(3).
     Government’s Proposed Jury Instructions
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 2                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 3
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 4 The term “commercial electronic mail message” means any electronic mail message the
 5 primary purpose of which is the commercial advertisement or promotion of a commercial
 6 product or service (including content on an Internet website operated for a commercial
 7 purpose).
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27 18 U.S.C. §1037(d)(4); 15 U.S.C. §7702(2)(A).
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     Government’s Proposed Jury Instructions
                                               7                             18-cr-4683-GPC
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 4
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 3 The term “commercial electronic mail message” does not include a transactional or
 4 relationship message.
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26 18 U.S.C. §1037(d)(4); 15 U.S.C. §7702(2)(B).
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     Government’s Proposed Jury Instructions
                                               8                          18-cr-4683-GPC
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 5
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 3 The term “transactional or relationship message,” when used with respect to a commercial
 4 electronic mail message, means an electronic mail message the primary purpose of which
 5 is:
 6           (1) to facilitate, complete, or confirm a commercial transaction that the recipient has
 7 previously agreed to enter into with the sender;
 8           (2) to provide warranty information, product recall information, or safety or security
 9 information with respect to a commercial product or service used or purchased by
10 the recipient;
11           (3) to provide (a) notification concerning a change in the terms or features of,
12 (b) notification of a change in the recipient’s standing or status with respect to; or (c) at
13 regular periodic intervals, account balance information or other type of account statement
14 with respect to, a subscription, membership, account, loan, or comparable ongoing
15 commercial relationship involving the ongoing purchase or use by the recipient of products
16 or services offered by the sender;
17           (4) to provide information directly related to an employment relationship or related
18 benefit plan in which the recipient is currently involved, participating, or enrolled; or
19           (5) to deliver goods or services, including product updates or upgrades, that
20 the recipient is entitled to receive under the terms of a transaction that the recipient has
21 previously agreed to enter into with the sender.
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27 18 U.S.C. §1037(d)(4); 15 U.S.C. §7702(17)(A).
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     Government’s Proposed Jury Instructions
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 6
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 3 The term “initiate,” when used with respect to a commercial electronic mail
 4 message, means to originate or transmit such message or to procure the origination or
 5 transmission of such message, but shall not include actions that constitute routine
 6 conveyance of such message. More than one person may be considered to have initiated a
 7 message.
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27 18 U.S.C. §1037(d)(4); 15 U.S.C. §7702(9).
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     Government’s Proposed Jury Instructions
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 1                   GOVERNMENT’S PROPOSED JURY INSTRUCTION 7
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 3 The term “routine conveyance,” when used with respect to a commercial electronic mail
 4 message, means the transmission, routing, relaying, handling, or storing, through an
 5 automatic technical process, of an electronic mail message for which another person has
 6 identified the recipients or provided the recipient addresses.
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26 18 U.S.C. §1037(d)(4); 15 U.S.C. §7702(15).
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     Government’s Proposed Jury Instructions
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 8
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 3 The term “interstate commerce” includes commerce between one State, Territory,
 4 Possession, or the District of Columbia and another State, Territory, Possession, or the
 5 District of Columbia.
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27 18 U.S.C. §10
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     Government’s Proposed Jury Instructions
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 9
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 4 A “registrant” of an IP address is the person or entity who has been assigned the IP address
 5 by ARIN (the American Registry of Internet Numbers), or one of the other four regional
 6 internet registries, or their predecessors, and whose information is stored and listed in
 7 ARIN or the regional internet registry’s WhoIs database, or the public database for that
 8 registry.
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28 United States v. Bychak, 441 F.Supp.3d 1003, 1016 (S.D. Cal Feb. 28, 2020).
     Government’s Proposed Jury Instructions
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 1                      GOVERNMENT’S PROPOSED JURY INSTRUCTION 10
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 3 A “legitimate successor in interest to the registrant” is “a successor to another’s interest”
 4 in the assigned IP address who has obtained such interest lawfully.
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27 United States v. Bychak, 441 F.Supp.3d 1003, 1012 (S.D. Cal Feb. 28, 2020).
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     Government’s Proposed Jury Instructions
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